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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                               CENTRAL DIVISION
                                  LEXINGTON

                                               )
  CHRISTOPHER JONES,                           )
                                               )
         Plaintiff,                            )
                                               )              NO. 5:20-CV-183-MAS
  v.                                           )
                                               )
  ANDREW SAUL,                                 )
  Commissioner of Social Security,             )
                                               )
                                               )
         Defendant.                            )

                                       JUDGMENT

       Consistent with the contemporaneously entered Opinion & Order resolving the summary

judgment cross-motions in this case, the Court ORDERS and ADJUDGES as follows:

   1. The Court AFFIRMS the administrative decision and ENTERS JUDGMENT in favor of

       Defendant Commissioner of Social Security;

   2. The Court DISMISSES WITH PREJUDICE Plaintiff’s Complaint (DE 1); and

   3. The Court STRIKES this matter from its active docket.

       This the 23rd day of September, 2021.
